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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                                )
                                                )
UNITED STATES OF AMERICA                        )
                                                )
                   v.                           )
                                                )               CRIMINAL NO. 19-CR-10080
DAVID SIDOO, et al                              )
          Defendants                            )
                                                )
_________________________________               )

  DEFENDANT ROBERT ZANGRILLO’S MOTION FOR LEAVE TO FILE MOTION
               FOR RULE 17(c) SUBPOENA UNDER SEAL

        Defendant Robert Zangrillo, by and through undersigned counsel, hereby respectfully

moves this Honorable Court for leave to file under seal his Motion for Rule 17(c) Subpoena. Mr.

Zangrillo requests that the Motion be sealed for, at minimum, a period of fourteen days to allow the

recipient of the subpoena the opportunity to review the Motion and, upon review, object to its

unsealing. Mr. Zangrillo further notes that the Motion discusses several attached Exhibits, some of

which are required to be filed under seal pursuant to this Court’s protective order.

        WHEREFORE, Mr. Zangrillo respectfully requests that this Honorable Court allow him

leave to file his Motion for Rule 17(c) Subpoena under seal.

                        COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

        Undersigned counsel conferred with counsel for the Government and the Government, by

and through AUSA Eric Rosen, assents to Mr. Zangrillo’s request to file his Motion for Rule

17(c) Subpoena under seal.

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                                                     Respectfully Submitted,
                                                     Robert Zangrillo
                                                     By His Attorneys,

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg
                                                     Mass. Bar No. 519480
                                                     20 Park Plaza, Suite 1000
                                                     Boston, MA 02116
                                                     (617) 227-3700
                                                     owlmgw@att.net

                                                     /s/ Nicholas Theodorou
                                                     Nicholas Theodorou
                                                     Foley Hoag LLP
                                                     155 Seaport Boulevard
                                                     Boston, MA 02210
                                                     (617) 832-1163
                                                     ntheodorou@foleyhoag.com

                                                     /s/ Matthew L. Schwartz
                                                     Matthew L. Schwartz
                                                     Boies Schiller Flexner
                                                     55 Hudson Yards, 20th Floor
                                                     New York, NY 1001
                                                     (212) 303-3646
                                                     mlschwartz@bsfllp.com


Dated: June 19, 2019

                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, June 19, 2019, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
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